                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               GREEN BAY DIVISION

BRIAN G. HEYER

        Plaintiff,
                                                         Case No. 1:19-cv-00015-WCG
v.

EXPERIAN INFORMATION SOLUTIONS,
INC., et al.,

        Defendants.

          DEFENDANTS EXPERIAN INFORMATION SOLUTIONS, INC.,
        EQUIFAX, INC., AND EQUIFAX INFORMATION SERVICES, LLC’S
     MEMORANDUM IN SUPPORT OF JOINT MOTION TO DISMISS COMPLAINT

        Defendants Experian Information Solutions, Inc. (“Experian”), Equifax, Inc., and Equifax

Information Services, LLC (“EIS” and, together with Equifax, Inc., “Equifax”), file their

Memorandum in Support of their Motion to Dismiss Complaint for failure to state a claim

pursuant to Federal Rule of Civil Procedure 12(b)(6), and ask the Court to dismiss this action

with prejudice in its entirety. For the reasons stated below, the motion should be granted.

                                         INTRODUCTION

        Plaintiff Brian Heyer has filed a Complaint under 15 U.S.C. § 1681g of the Fair Credit

Reporting Act that tracks complaints recently filed by several pro se litigants across the country.

The gist of each is the same: Experian and Equifax (collectively, “Defendants”) willfully

violated § 1681g(a)(1) because they failed to provide Plaintiff with all the information

maintained in their files about him. There are at least three fatal flaws in this theory of liability.

        First, the Complaint does not plausibly allege that Defendants denied Plaintiff

information, or that such information even exists. Plaintiff only alleges that unknown

information “may” have been or “might” be provided by Defendants to a third party. As at least




         Case 1:19-cv-00015-WCG Filed 03/11/19 Page 1 of 16 Document 17
two courts confronted with identical allegations have concluded, the allegation that Defendants

may have as-yet-undisclosed information in their files is too speculative to survive a motion to

dismiss.

       Second, even taking Plaintiff’s conclusory allegations as true, nothing in the Complaint

shows that Defendants “willfully” violated the FCRA, as Plaintiff is obligated to prove. The

Complaint identifies only two pieces of concrete information that, upon information and belief,

Plaintiff contends was withheld from him: “archived information” that is no longer included on

his reports, and “negative codes” used to communicate with credit grantors. To prove that

Defendants willfully violated the FCRA, Plaintiff must point to some authority clearly

establishing that § 1681g reaches that kind of information. In fact, however, the case law is to the

contrary. That case law would warrant dismissal even in a case under the FCRA’s negligence

standard, even though Plaintiff has not pled negligence; at the least, it powerfully refutes

Plaintiff’s contention that Defendants were objectively unreasonable when they responded to his

request for information by providing his consumer disclosure.

       Third, Plaintiff lacks standing to sue because the Complaint does not identify a concrete

harm. A plaintiff alleging denial of information under the FCRA must show the denial created a

real harm with an adverse effect. Plaintiff does not allege that Defendants have denied him

information they have provided to credit grantors, potential employers, and the like, or that

Defendants even intend to do so. At most, Plaintiff alleges a technical violation of the FCRA

with no real-world consequences. Under Article III, the abstract risk that third parties might

obtain unspecified inaccurate or misleading information at some undefined point in the future

does not a case or controversy make.




                                         2
           Case 1:19-cv-00015-WCG Filed 03/11/19 Page 2 of 16 Document 17
I.       FACTUAL ALLEGATIONS

         In his Complaint, Plaintiff states one cause of action against each defendant for willful

non-compliance under § 1681g(a)(1), which provides that a consumer reporting agency shall,

upon request, clearly and accurately disclose to the consumer “[a]ll information in the

consumer’s file at the time of the request….” See Dkt. 1 ¶¶ 55-65.

         Plaintiff alleges that he made a written request to each defendant for his “full consumer

file disclosure” in September 2017. See id. ¶¶ 22, 24, 26 & Ex. 1. He alleges that, in response, he

received a “credit report” from Experian and Equifax, which was not responsive to his request. 1

Id. ¶¶ 23, 25. Subsequently, Plaintiff allegedly made a second request to each defendant for a

“full consumer file disclosure.” Id. ¶¶ 30, 31 & Ex. 2. Plaintiff alleges that, again, he received a

“credit report” from Experian and Equifax, which was not responsive to his request. Id. ¶¶ 32,

33.

         The Complaint alleges, upon information and belief, that there is information relating to

Plaintiff contained in Defendants’ files that has not been disclosed to him, including previous




     1
     Plaintiff’s allegations confuse the terms by which various statements are known under the
FCRA. A “consumer report” or “credit report” is different from a “consumer disclosure.” See
Pettway v. Equifax Info. Servs., LLC, No. CIV.A. 08-0618-KD-M, 2010 WL 653708 (S.D. Ala.
Feb. 17, 2010). Consumer reports are generated by a CRA and delivered to a third party such as
an employer, insurer, or lender for use in deciding whether the consumer is eligible for credit or
other purposes. See id. A consumer disclosure is the CRA’s file which it provides to the
consumer, not third parties, that contains information about the consumer recorded and retained
by the CRA. Id. “Reports prepared solely for the consumer do not constitute ‘consumer reports’
under the FCRA.” Johnson v. Equifax, Inc., 510 F. Supp. 2d 638, 645 (S.D. Ala. 2007); see Shaw
v. Experian Info. Sols., Inc., 891 F.3d 749, 755, n.3 (9th Cir. 2018) (“A consumer, or credit,
report is a CRA-prepared report that a CRA issues to third parties for certain qualifying
purposes.”).

    Plaintiff’s allegation that he received a credit report, instead of a full consumer file disclosure,
is thus nonsensical. See Dkt. 1 ¶¶ 23, 25, 32, 33, 36. Plaintiff indisputably received a consumer
disclosure from each defendant. The only relevant question is whether Plaintiff has plausibly


                                       3
         Case 1:19-cv-00015-WCG Filed 03/11/19 Page 3 of 16 Document 17
information that is now “archived” and unspecified “additional information that is provided to

prospective creditors, insurers or employers….” Id. ¶ 42. Plaintiff stresses that he “is not making

any claim regarding information that HAS been provided to a third party,” only that certain

information “may have been” provided to a third party or “MIGHT be provided at some time in

the future….” Id. ¶ 47 (emphasis in original).

II.    LEGAL STANDARD

       Under Federal Rule of Civil Procedure 12(b)(6), a complaint must contain “sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). Facial plausibility exists “when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal,

556 U.S. at 678. “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the

elements of a cause of action will not do.’ ... Nor does a complaint suffice if it tenders ‘naked

assertion[s]’ devoid of ‘further factual enhancement.’” Id. at 678 (quoting Twombly, 550 U.S. at

555, 557). Although when considering a motion to dismiss a court must accept as true all factual

allegations in the complaint, this principle does not apply to legal conclusions couched as factual

allegations. Twombly, 550 U.S. at 555.

III.   ARGUMENT

       A.      The Complaint Fails to State a Plausible Claim for Relief.

       Defendants’ motion to dismiss should be granted, first, because the Complaint does not

plausibly allege a violation of § 1681g. Without any factual allegation to support Plaintiff’s




alleged that he did not receive a consumer disclosure containing all the information required by
§ 1681g(a)(1).


                                      4
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 4 of 16 Document 17
assumption that Defendants have withheld information him, the Complaint does not cross the

line from possibility to plausibility.

        To survive a motion to dismiss, a plaintiff must allege facts sufficient to “raise a right to

relief above the speculative level.” Twombly, 550 U.S. at 570. The complaint thus must establish

“more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678.

        Applying Iqbal and Twombly, courts have held that it is not enough for a complaint “to

assume that some data was withheld from [the plaintiff], without any factual allegations in

support of that assumption.” Larson v. Trans Union, LLC, No. 12-CV-05726-WHO, 2014 WL

1477705, at *4 (N.D. Cal. Apr. 14, 2014). Lacking any factual support, the mere allegation that a

credit reporting agency “may” or “might” possess more information about a consumer than it has

disclosed “stops short of the line between possibility and plausibility of entitlement to relief.” Id.

        Nor may a plaintiff surmise that a consumer reporting agency has failed to disclose

information and then use discovery to attempt to prove up that assumption. “The ‘doors’ of

discovery are not ‘unlocked’ for ‘a plaintiff armed with nothing more than conclusions.’” Parker

v. Equifax Info. Servs., LLC, No. 2:15-CV-14365, 2017 WL 4003437, at *4 (E.D. Mich. Sept. 12,

2017) (quoting Iqbal, 556 U.S. at 678-79). The pleading standards established by Iqbal and

Twombly do not permit a plaintiff to file suit based on assumptions, in the hopes that factual

support will come later through discovery. Id.

        Here, the Complaint alleges, upon information and belief, that Defendants failed to

disclose three pieces of information in their files:

            1. “[A]rchived” information “that was previously shown in [Plaintiff’s] credit
               reports” (Dkt. 1 ¶ 42);

            2. Unidentified additional or “erroneous account” information that is provided to
               prospective creditors, insurers or employers” (id. ¶¶ 42, 43); and




                                       5
         Case 1:19-cv-00015-WCG Filed 03/11/19 Page 5 of 16 Document 17
            3. “[N]egative codes” that are provided to prospective creditors, insurers or
               employers (id. ¶ 43).

       Courts confronted with identical allegations have held that they are too speculative to

survive a motion to dismiss. See Scott v. Experian Info. Sols., Inc., No. 18-cv-6078, 2018 WL

3360754, at *6-7 (S.D. Fla. June 29, 2018); Frazier v. Experian Info. Sols., Inc., No. CV JKB-

18-0067, 2018 WL 3785131, at *6 (D. Md. Aug. 9, 2018). As in those cases, Plaintiff admits he

has no direct knowledge of the content of Defendants’ files (Dkt. 1 ¶ 40), and “can only postulate

as to what should have been included in the disclosures.” Frazier, 2018 WL 3785131, at *6.

And, as in those cases, “Plaintiff does not point to what information is actually missing from

what he received from Defendants or what specific facts lead him to accuse Defendants of failing

to meet their disclosure requirements under the FCRA”; indeed, Plaintiff admits he is not

“making any claim regarding information that HAS been provided to a third party.” Scott, 2018

WL 3360754, at *7; see Dkt. 1 ¶ 47.

       Plaintiff’s theory is based, on his own admission, on nothing more than “surmise.” Dkt. 1

¶ 51. But mere surmise does not amount to plausibility, and the Complaint accordingly does not

pass muster under Iqbal and Twombly. Scott, 2018 WL 3360754, at *7; Frazier, 2018 WL

3785131, at *6.

       B.      The Complaint Does Not Allege Any Facts Supporting The Claim That
               Defendants Willfully Violated the Fair Credit Reporting Act.

       Even if Plaintiff’s allegations were plausible, Defendants’ motion to dismiss should be

granted because the allegations in the Complaint—even when accepted as true—do not amount

to a willful violation of the FCRA.




                                      6
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 6 of 16 Document 17
                1.     Under the FCRA, Willfulness is a High Standard that Requires a
                       Knowing or Reckless Violation.

       Plaintiffs suing under the FCRA may allege either a negligent or willful violation of the

statute. 15 U.S.C. §§ 1681n (willfulness provision), 1681o (negligence provision). To maintain a

claim for negligent violation of the FCRA, however, the plaintiff must establish actual damage—

an element the Complaint does not allege. See 15 U.S.C. § 1681o(a)(1). Because Plaintiff has

elected to proceed exclusively under the theory that Defendants willfully violated the FCRA, the

Complaint must allege facts meeting this heightened standard.

       “[W]illfulness is a high standard, requiring knowing or reckless disregard of the FCRA’s

requirements.” Berry v. Schulman, 807 F.3d 600, 605 (4th Cir. 2015). In Safeco Insurance Co. of

America v. Burr, 551 U.S. 47 (2007), the Supreme Court analogized the FCRA’s willfulness

standard to the “clearly established” requirement in qualified immunity cases, reasoning that an

FCRA violation can only be willful if the defendant engages in conduct that is clearly unlawful

under then-existing law. Id. at 69-70. Safeco itself makes clear that this “clearly established” test

sets a very high bar for willfulness liability: even federal district court case law and informal

agency guidance do not suffice to make an FCRA interpretation “clearly established” under

Safeco; rather, only “court of appeals” authority, “authoritative guidance” from the Federal Trade

Commission, or statutory language that is “pellucid” satisfy this test. Id. Accordingly, unless the

defendant’s alleged conduct would not have been lawful under any interpretation of the FCRA

that “could reasonably have found support in the courts,” the willfulness claim must fail. Id. at

70 n.20.

       This standard thus protects misreadings of the FCRA so long as they are “objectively

reasonable,” much in the same way that qualified immunity protects officials from liability if

their “action[s] w[ere] reasonable in light of legal rules that were ‘clearly established’ at the



                                         7
           Case 1:19-cv-00015-WCG Filed 03/11/19 Page 7 of 16 Document 17
time.” Safeco, 551 U.S. at 70 (citing and describing Saucier v. Katz, 533 U.S. 194, 202 (2001)).

And there are “numerous … cases in which courts have applied Safeco and declined to hold

defendants liable absent evidence of a reckless approach to FCRA compliance.” Fuges v. Sw.

Fin. Servs., Ltd., 707 F.3d 241, 254 (3d Cir. 2012).

               2.        Plaintiff’s Allegations Do Not Rise to the Level of a Knowing or
                         Reckless Violation Because They Do Not Allege a Violation at All.

       The allegations in the Complaint do not come close to establishing that Defendants

violated “pellucid” guidance from the appellate courts and FTC. Indeed, the most relevant

guidance from appellate courts and the FTC is contrary to the theory of liability alleged in

Plaintiff’s complaint.

       According to the Complaint, Defendants maintain three pieces of information that they

failed to disclose to Plaintiff upon his request for a consumer file disclosure: (1) archived

information; (2) negative codes; and (3) unspecified additional or erroneous information. The

premise of Plaintiff’s complaint is that so long as a consumer reporting agency maintains any

form of information on the consumer that it fails to disclose upon request, a violation of §

1681g(a)(1) is stated. Notably, however, every federal circuit to consider Plaintiff’s argument—

i.e., that the term “file” includes all information on the consumer recorded and retained by a

CRA—has rejected it. See, e.g., Gillespie v. Trans Union Corp., 482 F.3d 907, 909 (7th Cir.

2007); Shaw v. Experian Info. Solutions, Inc., 891 F.3d 749, 761 (9th Cir. 2018); Cortez v. Trans

Union, LLC, 617 F.3d 688, 711 (3d Cir. 2010).

       In Gillespie, the plaintiff alleged that a consumer reporting agency violated § 1681g(a)(1)

by providing her with a consumer file disclosure that revealed delinquent account information

but omitted any mention of the purge date. 482 F.3d at 908. Trans Union maintained this purge




                                      8
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 8 of 16 Document 17
date—i.e., the date when negative information is to be removed issued reports—in its files, but

did not include this information on the consumer reports it sends to third parties. Id.

       The plaintiff argued that because § 1681g(a)(1) states that a consumer reporting agency

must disclose “[a]ll information in the consumer’s file,” the statute requires disclosure of

everything in the consumer’s file, and not just material included in a consumer report issued to

third parties. Id. The Seventh Circuit disagreed, for several reasons.

       First, while § 1681g(a)(1) requires CRAs to disclose all information in the consumer’s

file, subsequent paragraphs in § 1681g(a) “list other types of information that must be revealed

as well,” including the name of each person that received a consumer report, and a record of all

credit inquiries during the one-year period before the consumer’s request. Id. at 909. If §

1681g(a)(1) required disclosure of all information on the consumer recorded and retained by a

CRA, “then these additional paragraphs are unnecessary.” Id.

       Second, the FTC’s commentary on § 1681g(a)(1) limits the scope of the provision to

material included in a consumer report, i.e., the report generated and delivered to third parties for

use in deciding whether the consumer is eligible for credit or other purposes. Id. (citing 16

C.F.R. pt. 600, app. § 603 (“The term ‘file’ denotes all information on the consumer that is

recorded and retained by a consumer reporting agency that might be furnished, or has been

furnished, in a consumer report on that consumer.”). 2

       Third, legislative history underlying § 1681g(a)(1) indicates that Congress enacted the

statute to ensure that consumers receive “complete copies of their consumer reports, not their



   2
     In 2010, Congress transferred authority for the interpretation of the FCRA from the FTC to
the Consumer Financial Protection Bureau (“CFPB”). See Dodd- Frank Wall Street Reform &
Consumer Protection Act, Pub. L. No. 111-203 § 1088, 124 Stat. 1376. But the CFPB has not
issued any contrary interpretation, and the existence of the FTC’s commentary bears on whether
Defendants willfully violated the FCRA.


                                      9
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 9 of 16 Document 17
entire files in whatever form maintained by the CRA.” Id. (citing S. Rep. No. 104-185, at 41

(1995) (“Section 408 explicitly requires consumer reporting agencies to provide, upon request,

all information in the consumer’s file. The Committee intends this language to ensure that a

consumer will receive a copy of that consumer's report, rather than a summary of the information

contained therein.”)).

        Based on the foregoing, the Seventh Circuit held that § 1681g(a)(1) requires CRAs to

disclose “information included in a consumer report.” Id. at 910. Thus, unless the plaintiff makes

“some showing” that the CRA has failed to disclose information contained in a consumer report,

a claim under § 1681g(a)(1) fails. Id. at 909; see also Dee Pridgen & Richard M. Alderman,

Consumer Credit & the Law § 2:16 (Nov. 2017) (“[T]he FCRA does not require consumer

reporting agencies to disclose information that is not given to creditors who request credit

reports.”).

        The allegations in the Complaint do not plausibly allege that Defendants knowingly or

recklessly violated any of this guidance. Plaintiff complains that Defendants’ disclosures did not

include “archived” information that is now excluded from his consumer reports. Dkt. 1 ¶ 42. But

§ 1681g(a)(1) expressly limits a CRA’s disclosure to information in the consumer’s file—i.e.,

information included in a consumer report, Gillespie, 482 F.3d at 910—“at the time of the

request.” If Defendants archived information that is no longer included on the consumer reports

they issue to third parties, Defendants have no obligation under § 1681g (a)(1) to disclose such

information.

        Plaintiff also complains that his disclosure did not include “negative codes.” Dkt. 1 ¶ 43.

Plaintiff does not explain what he means by “negative codes,” but his claim appears to turn on

the different way that credit reports (provided to subscribers, like potential creditors) and




                                      10
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 10 of 16 Document 17
consumer disclosures (provided to consumers) are reported. Most credit reports go to credit

grantors, “who read the information with computers”; accordingly, the information is “delivered

in a computer-generated format ‘in segments and bits and bytes.’” Shaw v. Experian Info. Sols.,

Inc., No. 13-CV-1295 JLS (BLM), 2016 WL 5464543, at *2 (S.D. Cal. Sept. 28, 2016), aff'd,

891 F.3d 749 (9th Cir. 2018). “Although this output is easily read by the computers of credit

grantors …, it is essentially incomprehensible to human beings.” Id. “Unlike a credit report,

which contains industry codes and fields which are designed to be read by computers and which

would be unfamiliar and meaningless to a lay consumer, the consumer disclosure uses a more

elementary and easy-to-read format to convey the same information.” Id. at *3.

       Plaintiff does not allege that Defendants are reporting “negative codes” to credit grantors

without disclosing the same information in a comprehensible way on the disclosure he received;

instead, Plaintiff appears to believe that § 1681g(a)(1) requires CRAs to disclose to consumers

both the digital codes used to communicate with credit grantors’ computers and the same

information in a format that human readers can understand. Again, however, not only is there a

lack of “pellucid” authority supporting Plaintiff’s position, there is case law directly to the

contrary. See Shaw, 891 F.3d at 761. This precedent makes ample sense: it would be detrimental

to consumers to be provided with reports containing codes and data intended for computers,

instead of simple language describing the same information.

       Finally, Plaintiff vaguely alleges that Defendants disclosed a consumer report lacking

unspecified additional or “erroneous account” information that is provided to prospective

creditors, insurers or employers.” Dkt. 1 ¶¶ 42, 43. It is not plausible that Defendants knowingly

or recklessly violated § 1681g when Plaintiff cannot even identify the content or form of




                                     11
       Case 1:19-cv-00015-WCG Filed 03/11/19 Page 11 of 16 Document 17
information Defendants failed to disclose. Put simply, a plaintiff cannot satisfy the high bar of

willfulness with such vague allegations.

       C.      Plaintiff Lacks Standing Because the Complaint Does Not Allege a Concrete
               Injury.

       Finally, the Court should grant Defendants’ motion to dismiss because the Complaint

alleges a technical statutory violation that, by Plaintiff’s own admission, has caused no real-

world harm. As the Supreme Court has made clear, Article III standing requires real harm. See

Spokeo v. Robins, 136 S. Ct. 1540 (2016). The required Article III injury is lacking here, because

there is no factual allegation suggesting that Plaintiff has been affected even slightly by the

alleged violation. This case is the epitome of the sort of no-injury claim that Spokeo forbids

federal courts from entertaining.

       To satisfy Article III’s standing requirement, the plaintiff must have (1) suffered an injury

in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely

to be redressed by a favorable judicial decision. Spokeo, 136 S. Ct. at 1547. To establish injury in

fact, a plaintiff must show that he suffered an invasion of a legally-protected interest that is both

concrete and particularized. Id. at 1548. For an injury to be concrete, “it must actually exist” and

be “real, and not abstract.” Id. Notably, a plaintiff cannot automatically satisfy the injury in fact

requirement just because “a statute grants a person a statutory right and purports to authorize that

person to sue to vindicate that right.” Id. at 1549. Put another way, one cannot “allege a bare

procedural violation, divorced from any concrete harm, and satisfy the injury-in-fact

requirement.” Id.

       The Fourth Circuit applied Spokeo to a claim under § 1681g—the same FCRA provision

at issue here—in Dreher v. Experian Info. Sols., Inc., 856 F.3d 337 (4th Cir. 2017). The plaintiff

in Dreher complained that although Experian disclosed certain information in his file, Experian



                                      12
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 12 of 16 Document 17
failed to disclose the information’s source, as § 1681g requires. See 856 F.3d at 345. The Fourth

Circuit acknowledged that this type of informational injury can constitute an Article III injury-

in-fact, but does not unless the plaintiff lacks “access to information to which he is legally

entitled and … the denial of that information creates a ‘real’ harm with an adverse effect.” Id.

(quoting Spokeo, 136 S. Ct. at 1549).

       To determine whether the plaintiff in Dreher alleged a concrete injury, the Fourth Circuit

first examined whether the plaintiff alleged an injury of the type that has “‘traditionally been

regarded as providing a basis for a lawsuit in English or American courts.’” 836 F.3d at 345

(quoting Spokeo, 136 S. Ct. at 1549). Finding none, the Fourth Circuit held that an informational

injury under the FCRA is concrete only when the plaintiff is denied access to information

required to be disclosed by statute, “and he ‘suffers, by being denied access to that information,

the type of harm Congress sought to prevent by requiring disclosure.’” Id. at 345- 46 (quoting

Friends of Animals v. Jewell, 828 F.3d 989, 992 (D.C. Cir. 2016) (emphasis in original)).

Because the FCRA is intended to ensure fair and accurate credit reporting, a plaintiff alleging

informational injury must show that the alleged violation made a difference in the fairness or

accuracy in his credit report—a showing the plaintiff in Dreher failed to make. Id. at 346.

       In the Seventh Circuit, the case law regarding the FCRA appears to be in accord with

Dreher; a constitutionally cognizable informational injury requires that the plaintiff lack

information to which he is legally entitled and that the denial of that information creates a real

harm with an adverse effect. Compare Robertson v. Allied Sols., LLC, 902 F.3d 690, 694 (7th

Cir. 2018) and Groshek v. Great Lakes Higher Education Corp., 865 F.3d 884 (7th Cir. 2017). In

Robertson, the court held that withholding information when a statute requires its publication—

sometimes called an “informational injury”—may inflict concrete personal harm. 902 F.3d at




                                     13
       Case 1:19-cv-00015-WCG Filed 03/11/19 Page 13 of 16 Document 17
694. “An informational injury is concrete if the plaintiff establishes that concealing information

impaired her ability to use it for a substantive purpose that the statute envisioned.” Id. In

Groshek, the Seventh Circuit held that the plaintiff lacked Article III standing for an alleged

informational injury under the FCRA, and held that while “‘Congress is well positioned to

identify intangible harms that will give rise to concrete injuries, which were previously

inadequate in law,’” “‘Congress’ judgment that there should be a legal remedy for the violation

of a statute does not mean each statutory violation creates an Article III injury.’” 865 F.3d at 887

(quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016), and Meyers v. Nicolet Rest. of De

Pere, LLC, 843 F.3d 724, 727 (7th Cir. 2016)).

        Plaintiff, however, has failed to allege that he has suffered any “real” harm in the form of

an inaccurate or unfair credit report. Indeed, Plaintiff does not even claim that the unspecified

information he seeks has been provided to any third party in a credit report. He expressly denies

that it has. Dkt. 1 ¶ 47.

        The Complaint alleges nothing more than a purported procedural violation under the

FCRA. Any harm flowing from that purported violation is entirely abstract. Article III does not

permit a plaintiff to sue because he surmises that some injury might occur at some point in the

undefined future. Unless and until Plaintiff can plausibly allege that Defendants’ alleged

violation of § 1681g has resulted in unfair or inaccurate credit reporting, his complaint does not

meet the “irreducible constitutional minimum” of a “case” or “controversy,” and must be

dismissed for lack of standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).




                                      14
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 14 of 16 Document 17
                                      CONCLUSION

       Defendants Experian and Equifax respectfully request that this Honorable Court dismiss

Plaintiff’s Complaint pursuant to Rule 12(b)(6) and for such other relief as the Court deems

necessary.

Dated: March 8, 2019                             Respectfully submitted,

                                                 /s/ Marie G Bahoora
                                                 Marie G Bahoora
                                                 Michael Best & Friedrich LLP
                                                 100 E Wisconsin Ave - Ste 3300
                                                 Milwaukee, WI 53202-4108
                                                 414-271-6560
                                                 Fax: 414-277-0656
                                                 Email: mgbahoora@michaelbest.com

                                                 Attorneys     for   Experian    Information
                                                 Solutions Inc

Dated: March 11, 2019                            Respectfully submitted,

                                                 /s/Meryl W. Roper
                                                 Meryl W. Roper
                                                 King & Spalding LLP
                                                 1180 Peachtree Street NE
                                                 Atlanta, GA 30309
                                                 (404) 572-4600 (tel)
                                                 (404) 572-5100 (fax)
                                                 mroper@kslaw.com

                                                 Attorneys for Equifax Information Services
                                                 LLC and Equifax Inc.




                                     15
       Case 1:19-cv-00015-WCG Filed 03/11/19 Page 15 of 16 Document 17
                                CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed a true and correct copy of the
foregoing document by ECF, which will send notification of such filing to the following
attorneys of record:

Marie G Bahoora
Michael Best & Friedrich LLP
100 E Wisconsin Ave - Ste 3300
Milwaukee, WI 53202-4108

Michelle L Dama
Michael Best & Friedrich LLP
Firstar Plaza
1 S Pinckney St - Ste 700
PO Box 1806
Madison, WI 53701-1806

J Robert Weyreter
Justin T Walton
Katherine E Carlton Robinson
Schuckit & Associates PC
4545 Northwestern Dr
Zionsville, IN 46077

And via U.S. Mail to:

Brian G Heyer
W6786 Sunnyvale Ln
Greenville, WI 54942-8695



Dated: March 11th, 2019

                                             KING & SPALDING LLP

                                             /s/ Meryl W. Roper
                                             Meryl W. Roper
                                             Attorney for Defendant        Equifax   Information
                                             Services LLC




                                     16
       Case 1:19-cv-00015-WCG Filed 03/11/19 Page 16 of 16 Document 17
